Case 2:21-cv-00820-GGG-JVM Documenti1-2 Filed 04/26/21

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THE ADMINISTRATORS OF THE TULANE EDUCATIONAL FUND

VERSUS

ILLINOIS UNION INSURANCE COMPANY;
WILLIS TOWERS WATSON SOUTHEAST, INC,
F/KK/A WILLIS OF TENNESSEE, INC. ; AND

ABC INSURANCE COMPANY

FILED: DEPUTY CLERK:

 

PETITION FOR DECLARATORY JUDGMENT,
INSURANCE PROCEEDS, AND
BREACH OF CONTRACT AND NEGLIGENCE
PARTIES
1.
Plaintiff, The Administrators of the Tulane Educational Fund (“Tulane”), is a
Louisiana non-profit corporation, with its principal place of business in Orleans

Parish where it is domiciled.

2,

Tulane owns and operates Tulane University of Louisiana located in Orleans

Parish among other properties and businesses located in Orleans Parish and
elsewhere.
3.

Defendant, [linois Union Insurance Company (“TUIC”), is a corporation

organized under the laws of the State of Illinois with its principal place of business
in Chicago, Illinois.
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IUIC issued Tulane a Premises Pollution Liability Insurance Policy No. PPL
G71496776 001 (“Policy”) effective February 27, 2019 to February 27, 2022,
covering Tulane’s uptown campus buildings as well as other Tulane properties as
indicated therein.

5.

TUIC may be served via the Louisiana Secretary of State pursuant to Louisiana

law and the Policy’s Service of Suit Endorsement. See Policy, Endorsement No. 33.
6,

Defendant, Willis Towers Watson Southeast, Inc. f/k/a Willis of Tennessee,
Inc. (“Willis”), was the producer of the Policy and, as explained below, on
information and belief worked, with IUIC on a policy form titled “Willis Indoor
Environmental Condition Amend (Bacteria/Virus)” which is at issue in this dispute.

7.
Willis worked on Tulane’s insurance program and advised and recommended
insurance coverage to Tulane, including, but not limited to the Policy.
8.
Willis has served as Tulane’s insurance agent for more than 12 years.
9.

Defendant ABC is the insurer of Willis for any errors and omissions at issue
in this lawsuit and is being sued pursuant to the Louisiana Direct Action Statute,
LSA-R.S. § 22:1269,

10.
Venue is proper in Orleans Parish as this action is an action against joint or

solidary obligors on an insurance policy, and Orleans Parish is the parish where the

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loss occurred and where the insured Tulane is domiciled. See La. Copg Civ. Proc.

arts, 73(A) & 76.

FACTS

 

A.  Tulane’s COVID-19-Related Claims as to [UIC
11.

Following the March 2020 severe COVID-19 outbreak in the New Orleans
area, the governmental orders from the State of Louisiana and City of New Orleans
regarding same, and Tulane’s decision to evacuate residential students from its
uptown campus, on April 7, 2020, Tulane provided a protective notice to TUIC of
COVID-19-related claims it expected that would be covered under the Policy.

12s

One month after Tulane provided its Notice to TUIC, on May 7, 2020, it
received an “Indoor Environmental Conditions Amendatory (Bacteria and Virus)
Endorsement” to the Policy from IUIC numbered Endorsement No, 44 with effective
date of February 27, 2019.

13.

Endorsement No. 44 bore an edition date of “04/20” which indicates it was
not created until April 2020.

14,

On May 27, 2020, TUIC via David Klink denied coverage under the Policy for
Tulane’s COVID-19-related claims.

IS.

In his correspondence, Mr. Klink failed to acknowledge that Tulane had
bound coverage with IUIC and had paid a premium to IUIC for an extension of

coverage to “virus” via an endorsement to the Policy, providing $10 million per

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occurrence and $10 million in aggregate with a $250,000 self-insured retention and
a retroactive date of February 27, 2019 for disinfection, remediation, and
decontamination costs (collectively “costs”} related to viruses.
16,
Mr. Klink further failed to even acknowledge the late-issued Endorsement No.

44 in his letter,

17,

On July 8, 2020, Tulane responded to Mr. Klink, noting that Tulane had
purchased from IUIC coverage for incurred costs due to viruses and that, in order to
prepare for reopening of the university for the fall 2020 semester and relocating the
evacuated students to company, Tulane was in the process of decontamination of its

building on an expedited basis.

18.

While reserving all its rights under the Policy, Tulane noted that, even if the
late-delivered and late-created Endorsement No. 44 were applied to its COVID-19-
related claims, that Endorsement No. 44’s limiting provision to the affirmative virus
coverage that there was no coverage if the virus is “the result of communicability
through human to human or bodily fluid contact” (“H2H Exclusion”) was not

applicable.
19.

Rather than direct human-to-human transmission, the coronavirus can be
communicated by human-to surface-to human transmission or human-to air-to

human transmission.
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20.

Unlike other insurance policy provisions that specifically exclude
communicable diseases if transmitted “by direct or indirect” human transmission,
the H2H Exclusion in the IUIC, even if applicable, does not clearly exclude
“indirect” transmission of the coronavirus and therefore Tulane’s COVID-1 9-related

costs are covered under the Policy even if the limiting provision in Endorsement No.

44 is considered.
21.

On July 14, 2020, Mr. Klink wrote to Tulane admitting that his first
correspondence was in error when he did not acknowledge that Tulane had

purchased affirmative virus coverage.

22.

Nevertheless, Mr. Klink now asserted the H2H Exclusion in the late-delivered
and late-created Endorsement 44 to continue to deny coverage for Tulane’s COVID-

19-related claims.

23s

On November 14, 2020, Tulane responded to Mr. Klink’s July 14, 2020

 

correspondence and provided a Partial Proof of Loss including remediation and

decontamination costs invoices of almost $600,000.

24.

In addition to reasserting the reasons that the UIC cannot meet its burden that

the H2H Exclusion would apply, Tulane set forth the history of its purchase of the
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TUIC virus coverage and that it was never made aware of an H2H Exclusion before

tendering its virus-related claim to TUIC.

B. Tulane’s Purchase of Affirmative Virus Coverage from IUIC
ws
On February 12, 2019, Willis representatives met with Tulane representatives
to discuss proposals from three new carriers including TUIC (referred to as Chubb)
to provide Tulane Environmental Liability coverage which Tulane previously had
with XL, but which policy was expiring on February 27, 2019 and was not going to
be renewed.

26.

In those discussions, Tulane’s Vice President, Insurance and Risk
Management (“VP/IRM”) specifically understood that the UIC policy would cover

costs related to a communicable disease like Ebola.
27.

Tulane’s VP/IRM remembered thinking and asking about Ebola specifically
because Tulane professors and doctors, including Dr. Gary, had been at “ground

zero” in Africa doing research for Ebola.
28.

Tulane’s VP/IRM thought a communicable disease, such as Ebola, would
necessarily involve some form of human-to-human transmission, whether directly
or indirectly, and she understood costs associated with such a disease would be

covered under the IUIC policy, although sub-limited.
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29.

In fact, in Tulane’s VP/IRM’s contemporaneous handwritten notes on the
Willis February 12, 2019 proposal regarding the IUIC/Chubb policy, she wrote

“Ebola-disinfection-sublimit $5M.”

30.

The specific headings from the proposal for the expiring XL coverage and the

proposals from the three new insurers with Tulane’s VP/IRM’s handwritten notes

are reprinted below:

 

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Disinfection Costs (Cavarage Not Included

 

 

 

 

 

 

 

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31.

As can be seen above, while the expiring XL policy, the proposed AWAC
policy, and the proposed Allianz policy all did not include or affirmatively excluded
virus-related “Disinfection Costs,” the IUIC/Chubb policy was listed as “Coverage
included for cleaning and disinfection expenses of any facility-bome infectious virus
or bacteria that requires reporting fo any governmental or healthcare oversight
agency.”

32,
On February 26, 2019, UIC provided a Quotation No. 4 to Tulane in which

it quoted a premium of $275,000 for the Policy which Quotation specifically

provided coverage would be extended via endorsement to viruses as follows:
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Indoor Environmental Conditions Amendatory (Bacteria and
Virus) Endorsement

¢ Sublimits of Liabilit: $140m Per /$10m Agg with $250k
SIR. .

¢ Retroactive date of 02/27/2019.
33.

While IUIC provided 64 pages of actual policy language with policy form
numbers and edition dates to Tulane in the Final Quote, it did not provide a form
number, edition date, or any additional language regarding the virus endorsement
other than what was reprinted above.

34,
Also, on February 26, 2019, while transmitting various quotes, Willis updated

its policy comparison form which had been presented at the Pebruary 12, 2019

meeting to reflect as follows:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Disinfection Costs Coverage No! Included itd fore ia SO ini cosemge cued wh to dae of 277DETD
35.

As can be seen above, the IUIC/Chubb policy was still providing coverage for
disinfection costs “with a $10M sublimit and with a retro date of 2/27/2019 which
matches the [UIC/Chubb Final Quote No. 4 for affirmative virus coverage.

36.

Tulane accepted TUIC/Chubb’s quote, and on March 5, 2019, TUIC issued

 

Tulane a “Coverage Binder.”
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37.
The Coverage Binder reiterated that the Policy was subject to a $250,000 self-
insured retention and a $275,000 premium and that the “Terms & Conditions” of the

policy were as per the Final Quotation No. 4 dated February 26, 2019 as indicated

below:
RETENTION AMOUNT: $250,000 Per Pollution Condition or Indoor Environmental Condition
? days Deductible for Business Interruption loss Per Pollution Condition or Indoor
Environmental Condition
PREMIUM: $275,000

The premium in this binder includes commission in an amount equal to 0.0% of such premium,
COMMISSION: 0.0%

 

 

TERMS & CONDITIONS: PF-44887a (01/17) Premises Pollution Liability Insurance Policy
As per quotation #4, dated 02/26/2019.

38,

The Coverage Binder specifically stated that “Terms and conditions that are

not specifically mentioned in this binder are not included.”
39,

Because the H2H Exclusion was not specifically mentioned in the binder, it

was not included in the bound coverage.
40.

After the IUIC Coverage Binder was issued, Willis sent Tulane another
version of the policy comparison chart on March 8, 2019, but there was no change
to Disinfection Costs boxes which remained the same as those provided on February
26, 2019.

4].

 

On March 20, 2019, Tulane paid the $275,000 premium for the IUIC Policy

to Willis as agent for IUIC.
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42.

On May 17, 2019, Tulane received some of the UIC Policy, but the portions
of the Policy received did not include the endorsement related to the affirmative
virus coverage that Tulane bought and paid for and was bound pursuant to the
Coverage Binder.

43.

After COVID-19 issues began in New Orleans in March 2020, Tulane
attempted to obtain a copy of the affirmative virus coverage that it had bought and
paid for and was bound and was not included with the policy provisions provided 10
months earlier.

44.

After being told on April 2, 2020 that the missing virus endorsement had been
“elevated to Chubb US management, Tulane tendered its Notice to IUIC under the
Policy on April 7, 2020 as indicated above,

| 45,

It was not for another month (and almost one year after being provided the
other parts of the Policy) that on May 7.2020 Tulane was provided Endorsement
No. 44 with the H2H Exclusion which it the first time FUIC had informed Tulane of
that exclusion which was not included in its Final Quote No. 4 or Coverage Binder
from 14 months earlier.

46,

The Endorsement No. 44 with the H2H Exclusion on which IUIC attempts to

rely also bears an edition date of “(04/20)” which indicates it was not created until

sometime in April 2020 which was after COVID-19 had begun in March 2020 and

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atter Tulane had put IUIC formally on Notice of its COVID-19-related claims on
April 7, 2020.

C. Tulane Learns that Willis and Chubb/IUIC Had Worked on a Virus
Endorsement Form that was Issued in Januarv 2017.

47.

In further exploring these issues, Tulane has recently been provided a policy
form substantively similar to Endorsement No. 44 by representatives of both IUIC
and Willis to which both entities refer to as “WILLIS Indoor Environmental Cond
Amend (Bacteria_Viras) (W)_PF-48763.” (emphasis added) (“Willis/Chubb Virus
Endorsement”).

48,

On information and belief, the Willis/Chubb Virus Endorsement was worked
on together by Willis and IUIC/Chubb.

49.

It bears a form edition date of “(01/17)” which indicates it was created no later
than January 31, 2017.

50.

Although IUIC relies on the substantive language of the Willis/Chubb Virus
Endorsement to deny Tulane’s claim, it has never explained why it could not have
included an endorsement with that language that existed since January 2017 in either
its Final Quote No. 4 in February 2019; its Coverage Binder in March 2019; when
it sent Tulane other parts of the Policy in May 2019; or at any time before COVID-
19 hit and Tulane submitted its Notice of its claims related to same to [UIC in March-

April 2020.

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51.

On information and belief, if Willis were involved in the creation of the
Willis/Chubb Virus Endorsements, then Willis understood the coverage granted by
the endorsement and correctly advised Tulane regarding same,

52.

Since COVID-19, Willis has consistently advised Tulane that it believes
Tulane’s COVID-19 claims and other insureds’ COVID-19 claims would be covered
under endorsements with substantially similar language to the Willis/Chubb Virus
Endorsement on which IUIC relies to deny coverage.

53.

As to this issue regarding an endorsement created by an insurance agent and

an insurer, Tulane submits that Willis acted as the agent of Chubb as to same.
54.

Tulane submits that, under Louisiana law, IUIC cannot rely on any limitation
to coverage such as the H2H Exclusion that it did not deliver to Tulane within a
reasonable period of time and post-loss and post-notice of loss, but rather the
coverage as stated in the Coverage Binder which incorporates the Final Quote No. 4
would control.

35,

Alternatively, if UIC is allowed to rely on the H2H Exclusion that was issued
almost a year after the rest of Tulane’s policy and after Tulane had sustained a loss
and in contravention of the binder and if the H2H Exclusion is found to preclude
coverage for Tulane’s COVID-19 related claims, then Tulane is entitled to seek the

coverage it should have had from Willis who represented to Tulane that the TUIC

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policy would provide coverage for costs related to viruses such as Ebola.

FIRST CAUSE OF ACTION AGAINST
IUIC FOR DECLARATORY JUDGMENT

56.
Tulane repeats and alleges the allegations in all preceding paragraphs as
though fully set forth herein.
57.
Tulane seeks a declaratory judgment against IUIC that IUIC is liable to Tulane
for all costs related to COVID-19 that Tulane has or will incur, subject to an
occurrence and aggregate limit of $10 million excess of a $250,000 self-insured

retention.

SECOND CAUSE OF ACTION AGAINST
IUIC INSURANCE PROCEEDS

58.
Tulane repeats and alleges the allegations in all preceding paragraphs as
though fully set forth herein.
59;
Tulane seeks insurance proceeds from IUIC for all COVID-19-related costs it
has or will incur, subject to an occurrence and aggregate limit of $10 million excess
of a $250,000 self-insured retention.

THIRD CAUSE OF ACTION AGAINST WILLIS FOR
BREACH OF CONTRACT AND/OR NEGLIGENCE

60.
Tulane repeats and alleges the allegations in all preceding paragraphs as

though fully set forth herein.

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61.

To the extent Tulane is found to not have coverage for its COVID-19-related
costs under the Policy, Tulane submits it was due to the breach of contract and/or
negligence of Willis in not obtaining the coverage it represented to Tulane it was
obtaining and in not diligently pursuing getting the virus endorsement from TUIC.

62.

The defendants, IUIC and Willis, are all jointly and/or solidarily liable with
each other for all damages Tulane has suffered due to their negligence and/or
breaches of contract for its COVID-19 costs up to the limits of the policy it was to
have had.

FOURTH CAUSE OF ACTION
AGAINST INSURER OF WILLIS
PURSUANT ¥O THE DIRECT ACTION STATUTE
63.

Tulane repeats and alleges the allegations in all preceding paragraphs as
though fully set forth herein.

64.

Tulane asserts a claim under the Louisiana Direct Action Statute, LSA-R.S. §
22:1269, against the insurer of Willis, as ABC insurer, for all Tulane’s claims
asserted against Willis.

65,
Tulane reserves its rights to substitute the correct name of the insurers at issue

once identified.

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WHEREFORE, Tulane respectfully prays, after due proceedings had, that:

(1) Defendants, IUIC and Willis, be held jointly and/or solidarily liable

with each other for all costs suffered by Tulane due to COVID-19 up to

$10 million;

(2) | Willis’ insurer be held liable for all amounts it owes Tulane; and

(3) Tulane receive any other equitable, special, and general relief as the

nature of this case will allow.

PLEASE HOLD SERVICE

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